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                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA,                                      Case No.   1:19-CR-2032-SMJ-1
                                                                CRIMINAL MINUTES
                                      Plaintiff,
        -vs-                                                    DATE:     MARCH 2, 2022
                                                                LOCATION: SPOKANE
 JAMES DEAN CLOUD,
                                                                JURY TRIAL – DAY THREE
                                      Defendant.


                                       Hon. Salvador Mendoza, Jr.


         Linda Hansen                                 01/02                           Kimberly Allen

      Courtroom Deputy                             Law Clerk                          Court Reporter
                                                                             Jay McEntire
                   Richard Burson
                                                                          Lorinda Youngcourt
                   Thomas Hanlon
                                                                             Jeremy Sporn

                Government Counsel                                         Defense Counsel

       [X] Open Court                        [     ] Chambers                     [   ] Teleconference
Defendant present, in custody of the US Marshal. All parties present in the courtroom.
8:15 am
All parties present
w/o Jury
               The Court and counsel discussed objection to testimony by EZ. Ms. Youngcourt requested to
               have until the lunch break to respond.
               Regarding the ECF 697, Defendant’s brief requesting a supplement jury instruction; the Court
               set a deadline of Saturday March 5, 2022 for the filing of a response from the Government. The
               matter will be addressed by the Court on Monday, March 7, 2022 at 8:00 a.m.
               By Friday, March 4, 2022, at 5:00 p.m., defense counsel shall submit an accounting of time and
               expenses, including the time and expenses they would reasonably have spent had they been
               given timely notification of the Brady material and E.Z. had testified.



[ ] ORDER FORTHCOMING
 CONVENED:         8:15 A.M.   RECESSED:            8:32 A.M.             17 MINS
 RECONVENED:      9:07 A.M.    RECESSED:           10:15 A.M.       1 HR / 8 MINS
 RECONVENED:     10:35 A.M.    RECESSED:           12:05 P.M.       1 HR / 30 MINS
                                                                                         TOTAL: 5 HRS / 58 MINS
 RECONVENED:      1:25 P.M.    RECESSED:            3:17 P.M.       1 HR / 52 MINS
 RECONVENED:      3:30 P.M.    RECESSED:            4:25 P.M.              55 MINS
 RECONVENED:      4:40 P.M.    ADJOURNED:           4:56 P.M.              16 MINS
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              Jay McEntire addressed the Court regarding the testimony of Morris Jackson. Mr. McEntire
              requested any additional information regarding meetings with the Government since January 28,
              2022.
              The Court and counsel discussed communications with witnesses and payments made for food,
              etc.
Recessed:      8:32 am
Reconvened: 9:07 am
All parties present
w/Jury

              Morris Jackson, resumed the stand, previously sworn to testify (with his counsel present)

              Continued direct examination by Thomas Hanlon

              Exhibits 48, 105 discussed with the witness.

              Mr. Hanlon offered Government’s Identification 105 (Photograph Blue Shirt) for admission.
              No objection by defendant.
              Court: Government’s Exhibit 105 is admitted.
9:29 am       Cross examination by Lorinda Youngcourt
              Exhibit 81 discussed with the witness

9:54 am       Pause in proceedings to allow witness to confer with counsel
9:57 am       Continued cross examination by Ms. Youngcourt

Recessed:      10:15 am
Reconvened: 10:35 am
All parties present
w/Jury

              Morris Jackson, resumed the stand, previously sworn to testify

              Continued cross examination by Ms. Youngcourt

              The witness is handed a document to review.

11:19 am      Pause in proceedings to allow witness to confer with counsel
11:23 am      Continued cross examination by Ms. Youngcourt

11:25 am      Pause in proceedings to allow witness to confer with counsel
11:26 am      Continued cross examination by Ms. Youngcourt

11:46 am      Re-direct by Tom Hanlon

11:55 am      Re-cross by Ms. Youngcourt

The witness steps down and is excused.
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Court and counsel at sidebar (off the record)

12:00 pm       Morris Jackson, resumed the stand, previously sworn to testify

               Continued re-cross by Ms. Youngcourt

               Additional re-direct by Mr. Hanlon

The witness steps down and is excused.

Recessed:      12:05 pm
Reconvened: 1:25 pm
All parties present
w/o Jury

               Jay McEntire advised the Court that there is an agreement between the parties regarding the
               testimony of the next witness. The parties discussed a witness who had been in the courtroom.

1:30 pm        Jury brought into open court
All parties present
w/Jury

               David Nathanial Hoffman sworn to testify (with his counsel present)

               Direct examination by Tom Hanlon.

1:38 pm        Cross examination by Ms. Youngcourt.

               Demonstrative exhibit drawn by Ms. Youngcourt during discussion with the witness

               Redirect by Mr. Hanlon
               Recross by Ms. Youngcourt

Witness steps down and is excused

2:04 pm        Natasha Jackson sworn to testify (with her counsel present)

               Direct examination by Richard Burson

               The witness identified the defendant in the courtroom by indicating in the direction of defense
               counsel table.

               Audio clips played for the witness only to refresh her recollection.

               Voir dire of the witness by Jeremy Sporn

               Exhibits 53, 14, 14A, 47 discussed with the witness
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3:05 pm       Cross examination by Jeremy Sporn

Recessed:      3:17 pm
Reconvened: 3:30 pm
All parties present
w/ Jury

              Natasha Jackson resumed the stand, previously sworn to testify (with her counsel present)

              Continued cross examination by Jeremy Sporn

Recessed:   4:25 pm
Reconvened: 4:40 pm

              Natasha Jackson resumed the stand, previously sworn to testify (with her counsel present)

              Continued cross examination by Jeremy Sporn

4:43 pm       Redirect by Mr. Burson

Witness steps down and is excused

The Court admonished the jury and directed them to return on Thursday, March 3, 2022 to begin court
proceedings at 8:30 a.m.

4:47 pm        Jury excused from open court
All parties present
w/o Jury

              The Court and counsel discussed the testimony of Mr. Hoffman and the previous exclusion of a
              witness.
              Ms. Youngcourt made a motion to submit briefing regarding a supplemental jury instruction.
              The Court directed any briefing on this issue be filed by tomorrow morning.

4:56 pm       Adjourned
